       Case 2:16-cv-03799-DJH Document 62 Filed 12/12/18 Page 1 of 3


 1   Daniel Shanley (021322)
     Email Address: dshanley@deconsel.com
 2   Stephen Zeller, admitted pro hac vice
     Email Address: szellerfaJdeconsel.com
 3   DeCARLO & SHANLEY,
     a Professional Corporation
 4   533 S. Fremont Avenue, Ninth Floor
     Los Angeles, California 90071-1706
 5   Telephone (213) 488-4100
     Telecopier (213) 488-4180
 6
     Attorneys for Defendants, Carpenters Southwest
 7   Administrative Corporation and Board of Trustees
     For the Carpenters Southwest Trusts
 8

 9                          UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona corporation,             No. 2: 16-cv-03799-DJH
     doing business as Southwest                    No. 2:17-cv-00198-DJH
13   Industrial Rigging,

14                        Plaintiff,                DEFENDANTS' NOTICE OF
15   v.                                             SERVICE OF DISCOVERY
                                                    DOCUMENTS
16   Board of Trustees for the
     Carpenters Southwest
17   Trusts, erroneously sued as Board
     Of Trustees for the                            Before The Honorable
18   Southwest Carpenter's                            Diane J. Humetawa
     Southwest Trust; et al
19                        Defendants.
20   Caroenters Southwest
     Adtilinistrative Corporation,
21   et al

22                        Plaintiffs,

23   v.
     H K B Inc., et al
24
                          Defendants.
25
26   Ill
27   Ill
28                                              I
              DEFENDANTS' NOTICE OF SERVICE OF DISCOVERY DOCUMENTS
      Case 2:16-cv-03799-DJH Document 62 Filed 12/12/18 Page 2 of 3


 1         PLEASE TAKE NOTICE that on December 11, 2018, the Defendants,
 2   Carpenters Southwest Administrative Corporation and Board of Trustees for the
 3   Carpenters Southwest Trusts, served upon Plaintiff H K B Inc., by mail, the
 4   following documents:
 5         1.     Defendant Carpenters Southwest Administrative Corporation's First
 6                Set of Interrogatories to Plaintiff HBK, Inc.;
 7         2.     Defendant Carpenters Southwest Administrative Corporation's First
 8                Set of Requests for Production of Documents to PlaintiffHBK, Inc.;
 9         3.     Carpenters Southwest Administrative Corporation's First Set of
10                Requests for Admission to Plaintiff HKB, Inc.
11
12
     Dated: December 12, 2018                 DeCARLO & SHANLEY,
13                                            a P.  ional Corporation
14
15
                                              Attorneys for Defendants,
16                                            Carpenters Southwest
                                              Administrative Corporation
17                                            and Board of Trustees for the Carpenters
                                              Southwest Trusts
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                DEFENDANTS' NOTICE OF SERVICE OF DISCOVERY DOCUMENTS
              Case 2:16-cv-03799-DJH Document 62 Filed 12/12/18 Page 3 of 3

                                 CERTIFICATE OF SERVICE

                         (H K B, Inc., etc., v. Board of Trustees, etc.)
                        (USDC-Arizona Case No. 2:16-cv-03799DJH)


      I hereby certify that on December 12, 20 18, I electronically transmitted the attached
document, DEFENDANTS' NOTICE OF SERVICE OF DISCOVERY DOCUMENTS, to
the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of
Electronic Filing to the following CM/ECF registrants:

            James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
            Javier Torres - javier.torres@stinson.com,cynthia.fischer@stinson.com




and by First Class Mail, addressed as follows:

James Edward Holland, Jr.                          Nicholas James Begakis
Javier Torres                                      LimNexis LLP
Stinson Leonard Street LLP                         1055 W 7th St., 28th Fl.
1850 N Central Ave., Ste. 2100                     Los Angeles, CA 90017
Phoenix, AZ 85004-4584

in said action, by placing [X] a true copy thereof, []an original enclosed in sealed envelope(s).

(BY MAIL) I placed such envelopes with postage thereon fully prepaid in the United States
Mail at 533 South Fremont Avenue, Los Angeles, California 90071.

                Executed on December 12, 2018, at Los Angeles, California.

       I declare that I am employed in the office of a member of the bar of this court at whose
direction the service was made.


                                             Luc     Moure-Pasco, Secretary
                                             DeCARLO & SHANLEY,
                                             a Professional Corporation
                                             533 S. Fremont Avenue, Ninth Floor
                                             Los Angeles, California 90071 0
                                             Telephone (213) 488-4100
                                             Telecopier (213) 488-4180
